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                      UNITED STATES DISTRTICT COURT
                      EASTERN DISTRICT OF LOUISIANA

OSPREY UNDERWRITING AGENCY,                               CIVIL ACTION
LTD, ET AL.

VERSUS                                                    NO. 13-211
                                                          c/w 13-5792
                                                          13-590(pertains to
                                                          13-211 & 13-5792)

M/V NATURES WAY COMMANDER, ET AL.                         SECTION: “B”(5)

                             REASONS FOR RULING

     To supplement the prior findings at Record Document Number

103, the following factual and legal reasons are assigned.

     All parties of record agree to and the Court adopts the

following stipulations relative to jurisdiction, venue, mode of

trial    and    material   facts   for    purposes   of    the   trial   (Record

Document Number 75-1, pp. 4, 13 & 28):

               1.    Jurisdiction is based on the maritime
               jurisdiction of this Court.    28 U.S.C. §
               1333.      Jurisdiction and venue are not
               contested.

               2.    Trial of this case proceeded without a
               jury.

               3.   The M/V PORT GIBSON (“PORT GIBSON”) and
               the Dredge BUCCANEER (“Dredge”) are vessels
               owned and operated by Plaintiff Crown Point
               Holdings, L.L.C., and were covered by a
               marine hull insurance policy issued jointly
               to   Crown   Point   Holdings,  L.L.C.   and
               Plaintiff C & J Crown Point, L.L.C.      The
               policy was underwritten by Plaintiff Osprey
               Underwriting Agency, Ltd.



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             4.   The PORT GIBSON and the Dredge were
             moored in a narrow channel that was part of
             Bayou Barataria, located just off the Gulf
             Intracoastal Waterway at Mile Marker 9, at a
             dock owned by Crown Point Holdings, L.L.C.
             Also moored at this dock, inside the PORT
             GIBSON and the Dredge was the vessel M/V
             DAWN STAR, owned by Consolidated Plaintiff
             Indian River Transportation, Inc.

             5.   On March 17, 2012, the M/V NATURES WAY
             COMMANDER (“NATURES WAY”) and its five-barge
             tow,   while   headed    eastbound   in   the
             Intracoastal Waterway near Crown Point,
             Louisiana, grounded the head of its tow on
             two small work flats owned by Crown Point
             Holdings, L.L.C.
             6.   Following the grounding, the NATURES
             WAY engaged in a number of engine maneuvers
             in an attempt to free its grounded flotilla.

             7.   On or about March 24, 2012, the PORT
             GIBSON and the Dredge were raised. The hull
             of the PORT GIBSON had been punctured by a
             protruding bolt from a timber that measured
             12" x 12" x 12' long.

       The foregoing facts constitute the extent of all parties’

stipulations that are deemed pertinent for our analysis.

       The following parts of this opinion constitute additional

findings         on      material        evidence,     including     credibility

determinations and conclusions of law.

       The PORT GIBSON is an Inland Rivers push boat measuring

about 6.3 feet long x 26.5 feet wide x 7.5 feet in depth. It has

a three-level cabin and was built in 1963.                       Its approximate

weight is 108 gross tons.            Its draft is approximately 5.6 feet;

the     engine        room   deck   is    at     approximately   2   feet,   with


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approximately      2    feet   of   bilge     space.         The   Dredge   is

approximately 65 feet long x 36 feet wide x 5 feet in depth, and

built in 1980. The M/V MISS VIRGINIA (“VIRGINIA”) is an Inland

Rivers push boat measuring about 54.4 feet long x 21.5 feet

wide.     Crown Point Holdings, L.L.C. was also the owner/operator

of that vessel.        The NATURES WAY and its five empty jumbo hopper

barge tow were about 664 feet in length and about 70 feet wide,

with the width of each barge measuring about 35 feet.                 Natures

Way Marine, L.L.C. was the owner/operator of the NATURES WAY.

        The Crown Point slip is a protected facility with mostly

local traffic.      It is about 150 to 190 feet wide at its mouth to

the Intracoastal Waterway (“Intracoastal”), narrowing to about

100 feet immediately aft of the mooring location of vessels

staged on the west bank in the slip.           There is a federally owned

triangular shaped island on the east side of the slip, with soft

mud banks.       About 50 vessels, mostly tug-barge flotillas, daily

pass by the Cross Point slip.

        The PORT GIBSON was docked on the west bank side of the

Crown Point slip after being dry docked for various works for

about    three    months.      It   was    faced   up   to   the   Dredge   in

contemplation of a dredging job that was set to start in a few

days.     The DAWN STAR was moored inside of the slip attached to

the starboard side of the PORT GIBSON, with the PORT GIBSON and

the Dredge at the outermost position into the channel of the

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three docked vessels.               That alignment of vessels on the west

side was approximately 50 to 60 feet across the slip from the

federal island soft mud banks on the east side of the slip.

       On the afternoon of March 17, 2012, the NATURES WAY, while

headed     east     in    the    Intracoastal,          became       wind    bound,       lost

control, and grounded its five-barge tow (configured as a six-

pack) inside of the Crown Point slip onto the point of the

federal     island.         Prior    to   this       grounding,      the     crew   of    the

NATURES WAY did not see the two small uninsured work barges

moored inside of the point due to the height of its tow’s barge

hopper coamings and the length of the tow.                       In the course of the

grounding,     the       starboard    lead     barge     of    the    NATURES       WAY   tow

struck, climbed over and sank the two small work barges owned by

Joseph A. Dardar (“J. Dardar”).                   The tow stranded on a short 6"

diameter bitt on the small work barges.

       At the start of trial, Natures Way Marine confessed and

stipulated its navigation of the NATURES WAY was negligent for

the     grounding     and    sinking      of      the    two     small      work    barges.

Accordingly, the crew violated the statutory "Rules of the Road"

by failing to keep a proper lookout for those two small work

barges.      Rule 5 of the International Regulations for Preventing

Collisions at Sea, 1972, codified at 33 C.F.R. 83.05.

       Following      that      allision,      the    NATURES     WAY       engaged   in     a

number of engine maneuvers in an attempt to free its stranded

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flotilla.    The NATURES WAY pilot attempted to use the point of

grounding as a fulcrum to twist the tow off the federal island

point and back into the Intracoastal.                This twisting maneuver

was tried a few times before being stopped by J. Dardar.

     Mr. J. Dardar testified that in response to hearing the

NATURES WAY engine screaming in reverse, he ran to his small

pleasure boat the NEPTUNE, noticed that the flotilla of the

Dredge, PORT GIBSON and DAWN STARR was drifting afloat across

the slip towards the east side’s mud bank.              He further testified

that he told the captain and pilot of the NATURES WAY and the

Coast Guard that his three-vessel flotilla broke away from its

moorings.     Two     of   his   employee-relatives,        Chad   Dardar   (“C.

Dardar”,    nephew)    and   Shannon        Dardar   (“S.   Dardar”,   sister)

maintain that their attention was on the vessels that broke away

after the NATURES WAY grounding on the federal island point.

However, there is no record by the Coast Guard of any reported

breakaway of J. Dardar’s vessels on the day of the grounding on

his two small barges.        Further, the NATURES WAY captain, pilot

and deckhands testified that neither J. Dardar nor anyone else

said anything to them that day about a breakaway of vessels.

NATURES WAY’s surveyor came to the scene on the same day of

grounding, March 17th.       He testified that after interviewing the

crew of the NATURES WAY and J. Dardar, none of them mentioned

anything about a breakaway that day, including J. Dardar.                   The

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only complaint from J. Dardar on March 17th relative to any of

his vessels dealt with his two small work barges.                   A day later,

on March 18th, J. Dardar stated a couple of his vessels had

broken loose, but told the surveyor he inspected the vessels

without noticing any damage or problem other than a couple of

busted mooring lines.      Significantly at this point, the Dardars

failed to mention anything about a bolt laden timber protruding

out or in close proximity to the hull of the PORT GIBSON during

its recovery and re-mooring to Dardar’s dock.                Moreover, had J.

Dardar or anyone else mentioned anything about the timber on

March 17th or March 18th when he and C. Dardar saw the timber,

NATURES WAY surveyor testified that would have alerted him to do

a detailed inspection of the PORT GIBSON’s hull for any damage

that may have been caused by the timber.

     It   is   unlikely   that   the        Coast   Guard   would    have   given

permission, as it did here, to the NATURES WAY to try to remove

itself from Dardar’s two sunken barges if it had indeed received

complaints that there was also a breakaway involving vessels in

that same slip.     In any event, J. Dardar testified at trial that

he used the MISS VIRGINIA on the starboard side of the NATURES

WAY tow; however, during his deposition, he testified that he

used the small dredge tender M/V MULE (“MULE”) on the port side

of the tow with its wheelwash directed straight towards his

vessels in the slip.       Plaintiff’s expert, John Pope, understood

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that J. Dardar used the MULE to assist the NATURES WAY tow off

the point, based on information from J. Dardar’s report of the

incident.    However, Dardar employee-sister S. Dardar testified

in contrast that the MISS VIRGINIA was used to help back the

NATURES WAY tow off the point.             Regardless, after initially

complaining about the prior maneuvers of the NATURES WAY, J.

Dardar with the aid of his vessels, the MULE and ultimately the

MISS VIRGINIA, eventually proceeded to assist the NATURES WAY

using substantially the same maneuvers to reverse the tow off

the point, with assistance from the additional power provided by

his vessel(s).      There is no credible evidence that the Coast

Guard approved maneuvers generated any complaints of creating

excessive problems in the slip from increased water movements,

e.g.,   wheelwash   or   wave   actions.      J.   Dardar’s       claim    of   a

breakaway   is   drawn   into   further    question    by   the    absence      of

photographs of same.      He took several photographs with his cell

phone camera of the NATURES WAY flotilla after its lead tow

grounded on top of his two small work barges, but none were

taken of his larger and more valuable three vessel breakaway

flotilla on March 17th either during the breakaway or during

their recovery from the east bank of the slip by the Dardars.

     We should also note at this point that all parties gave

contradictory     and    largely   speculative        evidence     about     the

condition, usage, and breaking strength of the mooring lines on

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the PORT GIBSON and the Dredge.                According to plaintiffs, the

broken lines lay snarled on the ground at the Dardar facility

for about a year and a half post-incident before being examined.

During that time the lines were exposed to changing weather

conditions.        The J. Dardar and Osprey expert opined without

credible objective support that the breakage was consistent, in

his view, with vessel movement as a result of wheel wash from

the NATURES WAY.            Like the latter expert witness the defense

expert’s conclusions that the lines broke due to their worn out

condition is also unsupported by credible objective evidence.

Both sides do agree that a substantially large amount of applied

force     was    required    to   break    mooring   lines.     However,     the

evidence is unconvincing and inconclusive, under an objective

standard of reasonableness, on this issue.                    We do recognize

that water movement combined with usage and condition of mooring

lines could, among other factors, impact line breakage.                 We are

unable however to speculate that the mooring lines broke or

separated in any non-exclusive manner.               Even if the lines broke

as contended by plaintiffs, the combined movement generated by

the    NATURES    WAY’s     reverse   thrusting   propellers    while   in   the

Intracoastal, and the MISS VIRGINIA’s forward/reverse thrusting

actions while in the Crown Point slip all offer a better set of

conditions that could possibly explain any breakage.



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       More importantly, credible evidence shows according to J.

Dardar and C. Dardar within an hour or so of the NATURES WAY

grounding   on     May   17th,   and   during   the   daylight   hours,   they

observed a 12-foot-long timber protruding out the side of the

PORT GIBSON, with the end floating approximately 8 to 9 inches

under the surface of the water and sticking 2 to 3 feet out from

the port side of the PORT GIBSON’s hull.                 On the evening of

March 17th an unsuccessful attempt was made by the Dardars to

remove the timber out away from the PORT GIBSON’S hull with the

100-horsepower MULE.        Guessing that the timber was stuck in the

mud bottom, J. Dardar decided to wait and ask someone with a

more    powerful     vessel      to    remove   the   timber,    an   obvious

navigational hazard to the PORT GIBSON and other vessels, on a

later date or whenever they had an occasion to leave the slip.

No explanation was given why he didn’t remove it that day with

his more powerful 600-900 horsepower MISS VIRGINIA, the DAWN

STARR or other equally powerful and available vessels.                     The

Dardars did not attempt to inspect the PORT GIBSON’s hull or

bilge after sighting the bolt-laden timber. Equally troubling

was the failure of the Dardars to report anything about the

timber prior to the sinking of the PORT GIBSON.                   During the

post-sinking investigation by defendants’ own surveyor, it is

reported that J. Dardar told the surveyor that he noticed, one

day prior to the sinking, the timber with a large steel rod

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through it protruding through the bottom of the PORT GIBSON’s

hull.

        The Dardars deny ever seeing the timber until either the

March 17th grounding event or a day or two later when it was

seen on the port side of the hull of the PORT GIBSON.                              Credible

evidence suggests that the PORT GIBSON’s hull was punctured in

the way of her port void tank near the stern; that puncture was

caused by a tapered, galvanized l-inch diameter bolt in the 12-

foot-long timber.        The tapered end of the bolt protruded about 8

inches from the face of the timber.                           After the puncture and

sinking of the PORT GIBSON, C. Dardar reported the bolt as a

large steel rod protruding from the timber through the bottom of

the PORT GIBSON’s hull.                 The evidence further shows that this

puncture    caused      the   PORT       GIBSON       to    take   on   water      and   sink

several    days    later,      on       March     21,      2012,   pulling     the   Dredge

BUCCANEER down with her. Prior to the sinking, the Dardars had

several    opportunities           to    remove       and    report     the   bolt       laden

timber,    but    failed      to    do    so.         The    sinking    would      not    have

occurred had the Dardars timely reported the timber’s sighting

on either March 17th or March 18th.

        As seen with the mooring lines issue, the parties presented

various scenarios in attempts to determine the timing, locality

and methodology of the hull puncture event.                             There’s even a

suggestion       that   the    sinking          was     intentional.          We   are     not

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persuaded     by    any     side’s       evidence          in   the        former    or       latter

instances.          Paraphrasing         C.     Dardar’s         attorney’s          post-trial

memorandum statements, this case is shrouded in mystery; the

mechanics     of     events     are       speculative;          and        in     this    unusual

situation, logic in the final analysis may help resolution.

       Our thought process usually involves one of three models.

Pathological        thinking        is     often          directed          by      unrecognized

emotional      thinking;       logical          thoughts         are        impartial,          non-

subjective,        non-emotional,          dissecting            but        not     necessarily

understanding;         and     psychological                thinking            progresses          by

reflection,        having     as     a     goal          understanding           even     of       the

unexplainable.         Over     months         of    impartial        reflection          and      the

deflection     of     emotional          assumptions,           there       is     insufficient

evidence,     from     either        side,          to    credibly          establish         by     a

reasonableness standard when, where or how the hull impalement

occurred.      As already noted, parties generally agree impalement

occurred and that impalement caused the sinking at issue.                                       From

there,     parties     wrangle       over       when       it    occurred;          whether         it

happened during or from horizontal versus vertical movements of

the    PORT   GIBSON       and/or     timber;        whether         it     occurred      at       the

Dardar’s west bank facility, at the muddy east bank of the slip

or    elsewhere;     and     whether      it    occurred        as     a    result       of    water

movement during or after NATURES WAY grounding or tidal changes.

However helpful answers to the foregoing would be, there is one

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inescapable reality.           The Dardars’ sighting of a navigational

and hull hazard obstacle, the bolt laden 12-foot-long timber, a

day or so prior to the sinking event, coupled with their failure

to report the sighting or inspect the PORT GIBSON for damage

from    same     constitute     extraordinary         negligence        and    the   sole

proximate cause for its sinking.

        Defendants have shown through credible evidence that it was

beyond their power to prevent the sinking of the PORT GIBSON and

Dredge.     The Pennsylvania, 86 U.S. (19 Wall) 125, 22 L.Ed. 148

(1874); West India Fruit & S.S. Co. v. Raymond, 190 F.2d 673

(5th Cir. 1951).          As shown earlier, critical information which

would    have       allowed   them    to     take    precautionary        measures     to

prevent    the      sinking   was     withheld      from   them   by     the    Dardars.

Moreover, as noted earlier, credible evidence has shown that the

Dardars’ failures to remove the timber, to timely inspect the

PORT GIBSON’s hull and bilges, and to timely report the timber’s

sighting, singularly or in combination with each other, were

neither    the      understandable      actions       of   prudent       mariners     nor

foreseeable           consequences           attributable         to          defendants.

Additionally,         while    not     always       necessary      to     find       every

misconduct specifically foreseeable, the standard of reasonable

conduct    may      require   the     defendant      to    protect      the    plaintiff

against “that occasional negligence which is one of the ordinary

incidents      of    human    life,    and     therefore    to    be     anticipated”.

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WILLIAM L. PROSSER, LAW    OF   TORTS 274 (4th ed. 1971); Nunley v. M/V

Dauntless Colocotronis, 727 F.2d 455, 464 (5th Cir. 1984); Watz

v.    Zapata    Offshore        Co.,   431    F.2d     100,    116   (5th    Cir.

1970)(emphasis added).

       The Restatement (Second) of Torts sets forth principles for

determining      whether    an     intervening       force    supersedes    prior

negligence. They are:

                  (a) the fact that its intervention
             brings about harm different in kind from
             that which would otherwise have resulted
             from the actor's negligence;

                  (b) the fact that its operation or the
             consequences thereof appear after the event
             to be extraordinary rather than normal in
             view of the circumstances existing at the
             time of its operation;

                  (c) the fact that the intervening force
             is operating independently of any situation
             created by the actor's negligence, or, on
             the other hand, is or is not a normal result
             of such a situation;

                  (d) the fact that the operation of the
             intervening force is due to a third person's
             act or to his failure to act;

                  (e) the fact that the intervening force
             is due to an act of a third person which is
             wrongful toward the other and as such
             subjects the third person to liability to
             him;

                  (f) the degree of culpability of a
             wrongful act of a third person which sets
             the intervening force in motion.

Id. § 442 (emphasis added). Section 447 continues:


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                 The fact that an intervening act of a
            third person is negligent in itself or is
            done in a negligent manner does not make it
            a superseding cause of harm to another which
            the   actor's   negligent    conduct   is  a
            substantial factor in bringing about, if

                       (a) the actor at the time of
                  his negligent conduct should have
                  realized that a third person might
                  so act, or

                       (b) a reasonable man knowing
                  the situation existing when the
                  act of the third person was done
                  would not regard it as highly
                  extraordinary   that    the third
                  person had so acted, or

                       (c) the intervening act is a
                  normal consequence of a situation
                  created by the actor's conduct and
                  the manner in which it is done is
                  not extraordinarily negligent.

Id.    §    447   (emphasis     added);        Nunley    v.     M/V     Dauntless

Colocotronis, 727 F.2d 455, 464-65 (5th Cir. 1984)(en banc).

      In    the   maritime    context,        “negligent      conduct    on   the

navigable    waters   that    causes    loss     to   another   constitutes    a

maritime tort.” United States v. M/V Big Sam, 681 F.2d 432, 443

(5th Cir. 1982). Here, negligence is conceded for the failure of

the NATURES WAY to avoid running aground over and damaging the

two small barges on March 17th.              Thereafter, defendants provided

credible evidence that the sinking of the PORT GIBSON and Dredge

on March 21st was not directly or circumstantially attributable

to the March 17th grounding events; and that the noted failures


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of plaintiffs constitute extraordinary negligence and the sole

proximate      cause    of    the   sinking.         United       States    v.    Reliable

Transfer Co., 421 U.S. 397, 411, 95 S.Ct. 1708, 1715-16, 44

L.Ed.2d 251 (1975), on remand 522 F.2d 1381, 1975 A.M.C. 1508

(2d Cir. 1975);         Nunley v. M/V Dauntless Colocotronis, 727 F.2d

455, 465 (5th Cir. 1984)(en banc).                       Additionally, the NATURES

WAY did not know and had no reason to know that its maneuvering

created       an   unreasonable      risk     of     harm     to    the    PORT    GIBSON

flotilla, especially in light of J. Dardar’s statement that the

flotilla       was     undamaged     except        for    broken      mooring       lines.

Defendants’ duty of reasonable care extends to the duty for harm

that is reasonably foreseeable.                   Daigle v. Point Landing, Inc.,

616    F.2d    825,    1981    A.M.C.     458      (5th    Cir.    1980).         Credible

evidence convinces that they fulfilled that duty.                            Plaintiff,

owner of the PORT GIBSON flotilla, also has a duty of reasonable

care to warn for harm that is reasonably foreseeable.                              Id. at

827.      Credible      evidence    reviewed        above    shows    that       plaintiff

owner breached that duty in several respects.

       The    issues    of    proximate     causation       and    superseding       cause

involve application of law to facts.                        Even if there was an

arguable basis in fact to conclude that the impalement of the

PORT GIBSON was somehow related to the NATURES WAY maneuvering,

the Dardars’ failures to remove, inspect and warn anyone about

the bolt laden timber they saw protruding from under the PORT

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GIBSON were so highly extraordinary that a reasonably prudent

person could not have foreseen such failures.                        Compare, Exxon

Co., U.S.A. v. Sofec, Inc., 517 U.S. 830, 116 S.Ct. 1813, 135

L.Ed.2d 113, 1996 A.M.C. 1817 (1996); Donaghey v. Ocean Drilling

& Exploration Co., 974 F.2d 646, 652 (5th Cir. 1992);                     Nunley v.

M/V DAUNTLESS COLOCOTRONIS, 727 F.2d 455, 464–65 (5th Cir. 1984)

(en banc) (citing Restatement (Second) of Torts § 447); Becker

v. Tidewater, Inc., 586 F.3d 358, 372 (5th Cir. 2009).                         It is

well-established      that   a    presumption      of     fault      arises   when   a

vessel collides with a stationary object, it violates a safety

statute, or its unusual wake, swell, wash or suction causes

damage to a moored or anchored vessel. See West India Fruit &

Steamship Co. v. Raymond, 190 F.2d 673, 674 (5th Cir. 1951)

(“fact of injury to [properly moored vessel] from swells prima

facie establishes the liability of the [moving vessel]”); Petro

United Terminals, Inc. v. J.O. Odfjell Chemical Carriers, 756

F.Supp. 269, 274 (E.D. La. 1991) (violation of statutory safe

speed rule shifted burden to passing vessel to prove that its

fault    was   not   the   sole   cause     of   the    accident);      New   Orleans

Steamboat Co. v. M/T HELLESPONT GLORY, 562 F.Supp. 391, 392

(E.D. La. 1983) (“Once a properly moored vessel proves that a

passing vessel caused swells or suction that resulted in damage

to    the   moored   vessel,      the   passing        vessel   is    obligated      to

exonerate itself from blame.”). This case involves none of those

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circumstances,      and    the   Court   finds       no    grounds    for   presuming

fault here against the NATURES WAY for the sinking of the PORT

GIBSON      flotilla.       Considering        the   entire     circumstances       of

events, the Dardars’ failures were solely at fault for and,

alternatively, the superseding cause of, the sinking of the PORT

GIBSON and the Dredge BUCCANEER.                 Credible evidence convinces

that the post-grounding maneuvering of the NATURES WAY was not a

contributing factor to the flotilla’s sinking about four days

later.      As stated before, even if it arguably was a factor the

superseding cause was the noted extraordinary misconduct of the

Dardars.

      For about a week since his hiring, C.                        Dardar had been

working at the Crown Point facility readying the tug PORT GIBSON

for a job.        He was hired by his relative J. Dardar to be a

deckhand on the PORT GIBSON. The only night he slept on the tug

was on the date of the incident. His duties prior to sinking

were to maintain its equipment, ready it for a dredging job,

general housekeeping, clean-up of               refurbishment debris, as well

as securing the mooring lines of the tug and the Dredge. Most if

not   all    of   his   assignments      were    done      aboard     Crown    Point’s

vessels.      His connection to the PORT GIBSON was substantial in

nature but short in duration only due to its sinking.

      At approximately 5:00 o’clock a.m. on March 21, 2012, C.

Dardar      testified     that   he   attempted       to    exit     his    bunk,   and

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immediately fell to the wet deck of the PORT GIBSON that was

reportedly listing to port at an angle of about 45 degrees.

During    evacuation       from    the     vessel,    C.       Dardar     maintains       he

injured his back and right shoulder. He was treated first at the

Emergency      Department     of    West     Jefferson         Medical    Center;       and,

later,    at    Advanced    Medical       Center     in    Gretna,       Louisiana.      He

received       conservative        medical       treatment        for     soft      tissue

injuries. Following treatment on the day of the accident there

was a gap in treatment.             Thereafter, he received treatment from

June through July 2012 at Advanced Medical Center.                         He returned

to the same chiropractor who treated him for prior back and

shoulder pain sometimes before 2012.                 He reports some lingering

effects    from    the    March    2012    incident       to    his    lower     back   and

shoulder,      primarily     during       heavy    work.          He     has     submitted

relevant       unpaid    medical     bills       amounting       to     $2,273.60;      and

further     claims      losing     personal      property       during     the    sinking

valued between $400.00 to $600.00.

      While Mr. C. Dardar contends that he was unable to work for

months after the March 21st sinking, he was back at work less

than a month after the sinking, including work as a commercial

fisherman and briefly doing welding work.                         He cites economic

necessity for returning to work early after the sinking.

      His employer, Crown Point Holdings, L.L.C. and C & J of

Crown Point, L.L.C. (“Crown Point”), offered credible evidence

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that other than his emergency room visit on the day of the

sinking,      C.   Dardar    never    advised     Crown    Point     that    he   later

sought other health care.             Further credible evidence shows that

he never requested maintenance.              Crown Point reasonably believed

that    his    medical      issue    was    promptly      resolved    and     that   he

returned to his usual intermittent employment.

       C.   Dardar   meets     the    minimal     requirements       for    Jones    Act

seaman status.        Although it is not necessary that a seaman aid

in navigation or contribute to the transportation of the vessel,

a seaman must be doing the ship's work. The key to seaman status

is employment-related connection to a vessel in navigation, and

that the requirement that an employee's duties must contribute

to the function of the vessel or to the accomplishment of its

mission captures well an important requirement of seaman status.

Chandris, Inc. v. Latsis, 515 U.S. 347, 357, 115 S. Ct. 2172,

2184, 132 L. Ed. 2d 314 (1995).

       The essential requirements for seaman status are twofold.

First, an employee's duties must contribute to the function of

the vessel or to the accomplishment of its mission. But this

threshold requirement is very broad.               All who work at sea in the

service of a ship are eligible for seaman status. Second, a

seaman must have a connection to a vessel in navigation (or to

an identifiable group of such vessels) that is substantial in

terms   of    both   its     duration      and   its   nature.     The     fundamental

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purpose of this substantial connection requirement is to give

full effect to the remedial scheme created by Congress and to

separate the sea-based maritime employees who are entitled to

Jones Act protection from those land-based workers who have only

a transitory or sporadic connection to a vessel in navigation,

and therefore whose employment does not regularly expose them to

the perils of the sea. See 1B A. JENNER, BENEDICT       ON   ADMIRALTY § 11a,

pp. 2–10.1 to 2–11 (7th ed. 1994) (“If it can be shown that the

employee performed a significant part of his work on board the

vessel on which he was injured, with at least some degree of

regularity and continuity, the test for seaman status will be

satisfied”). It is important to recall that the question of who

is a “member of a crew,” and therefore who is a “seaman,” is a

mixed question of law and fact. Because statutory terms are at

issue, their interpretation is a question of law and it is the

court's duty to define the appropriate standard. On the other

hand, if reasonable persons, applying the proper legal standard,

could differ as to whether the employee was a ‘member of a

crew,’ it is a question for the fact finder.            Chandris, Inc. v.

Latsis, 515 U.S. 347, 368-69, 115 S. Ct. 2172, 2190, 132 L. Ed.

2d 314 (1995).

      C. Dardar had a direct connection with the PORT GIBSON, a

vessel in navigation, and his duties contributed directly to the

function of that tug and the accomplishment of its mission; a

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mission he was assigned to undertake with it, exposing him to

perils at sea.       All or most of his time was spent aboard the tug

or    in   its    direct    service.      His     injury      was   sustained   while

engaged in maritime service.                  Even though the nature of the

worker's activities is a factor in determining his substantial

connection to the vessel, the Chandris Court emphasized that

there is “a status-based standard” for determining Jones Act

coverage. Chandris, 515 U.S. at 358. In other words, “it is not

the employee's particular job that is determinative [of seaman

status], but the employee's connection to a vessel.” Id. at 364.

Thus, even a ship repairman (which is traditional longshoreman

work and is one of the enumerated occupations under the LHWCA)

may     qualify     for     seaman     status     if    he    has    the   requisite

employment-related          connection    to      the   vessel.     Id.    at   363–64

(citing Southwest Marine, Inc. v. Gizoni, 502 U.S. 81, 112 S.Ct.

486, 116 L.Ed.2d 405 (1991)). The Court revisited Chandris in

Harbor Tug in 1997. Harbor Tug Co. v. Papai, 520 U.S. 548, 117

S.Ct.      1535   (1997).    The     Harbor     Tug   Court    explained    that   the

inquiry into the worker's employment-related connection to the

vessel must concentrate on whether the employee's duties take

him to sea. Id. at 555. This will give substance to the inquiry

both as to the duration and nature of the employee's connection

to the vessel and be helpful in distinguishing land-based from

sea-based employees. Id. (emphasis added); In re Endeavor Marine

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Inc., 234 F.3d 287, 291 (5th Cir. 2000).                 The Fifth Circuit

noted in the latter case that the Harbor Tug Court stated that

the determination of whether the claimant went to sea was only

“helpful”     in   determining     whether     there     was     a   requisite

connection to the vessel.        In re Endeavor Marine Inc., 234 F.3d

at 291.     The Circuit further stated that when read in context,

the “going to sea” passage in Harbor Tug is a shorthand way of

saying that the employee's connection to the vessel regularly

exposes him “‘to the perils of the sea.’” Harbor Tug, 520 U.S at

554–55(quoting Chandris, 515 U.S. at 368).              For those reasons,

the Circuit found it was reversible error to conclude a claimant

is not a Jones Act seaman merely because their duties do not

literally carry them to sea. In re Endeavor Marine Inc., 234

F.3d at 292.       Here, the voyage was set to occur the day after

the sinking.

      As correctly noted by C. Dardar in post-trial briefing, the

trial evidence shows that there was sufficient reason for his

employer to inspect the hull of the PORT GIBSON or at least

further investigate the timber which appeared protruding from

under or next to its hull.       As found earlier, no such inspection

or investigation was undertaken by the employer, his cousin D.

Dardar – a principal owner of Crown Point.             That same timber was

found to be the cause of the vessel sinking on March 21st. Here,

credible    evidence   shows   that   the    Crown   Point     defendants   had

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actual or constructive notice of the hazardous timber for days

prior the sinking of its vessels, unsuccessfully tried to remove

the hazard, failed to duly inspect its vessels and failed to

duly warn others about the hazard prior to the sinking.                               C.

Dardar further correctly states that the evidence shows that his

injuries were a direct result of the ruptured hull of the PORT

GIBSON and a probable consequence of that condition.

       Except for the maintenance claims that he failed to prove,

C. Dardar prevails on his remaining Jones Act negligence and

vessel unseaworthiness claims against Crown Point defendants,

the    sole   parties    at    fault      for     the   sinking    and    his    damages.

Claims by him and Crown Point (for indemnity, comparative fault

and/or contribution) against NATURES WAY, along with Crown Point

claims for comparative fault against C. Dardar are dismissed for

earlier stated reasons.

       As damages, credible evidence shows C. Dardar’s entitlement

to    $2,273.60    for    medical         bills;    $400.00       for    lost    personal

property;     $2,000.00       for   lost    earnings;      $2,000.00       for   general

damages; plus prejudgment interest on those awards until paid;

plus costs.       Having stipulated to its fault for the damages to

the two small uninsured work barges/flats, NATURES WAY will be

cast     in   judgment     to       pay    $20,900.00       to     J.    Dardar,     plus

prejudgment     interest       on    that       award    until    paid,    plus     costs

associated only with that recovery.                       Finally, all claims by

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plaintiffs    against    NATURES   WAY     defendants   arising   from   and

including the sinking of the PORT GIBSON and the Dredge are

dismissed for reasons stated above.

      New Orleans, Louisiana, this 11th day of June, 2015.




                             ______________________________
                              UNITED STATES DISTRICT JUDGE


        




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